    Case 1:04-cv-00798-PLF-GMH Document 1127-1 Filed 03/11/19 Page 1 of 1


                              KING, CAMPBELL, PORETZ & THOMAS PLLC
                                ATTORNEYS AND COUNSELORS AT LAW
    JOSEPH KING               108 N. ALFRED STREET, ALEXANDRIA, VIRGINIA 22314                    RYAN CAMPBELL
    ATTORNEY AT LAW                                                                               ATTORNEY AT LAW


    DANIEL PORETZ                           TELEPHONE: 703-683-7070                               EMILY BECKMAN
    ATTORNEY AT LAW                         FACSIMILE: 703-652-6010                               ATTORNEY AT LAW




                                                              March 8, 2019


VIA ELECTRONIC FILING

The Honorable G. Michael Harvey
United States District Court for the District of Columbia
333 Constitution Avenue, N.W.
Washington, D.C. 20001

        Re: United States v. All Assets, et. al., No. 1:04-CV-00798 PLF/GMH (D.D.C.)

Dear Magistrate Judge Harvey:

         The current information in the possession of counsel regarding the deposition of claimant
Alexander Lazarenko is that Alexander Lazarenko wishes to withdraw his claim in this
proceeding and does not wish to participate further in this lawsuit. Counsel is preparing
documents for Alexander Lazarenko to sign and file which would effectuate that intent, but such
documents have not yet been signed by him.
         Given the information I have at this time, it would be wasteful for the government to
expend additional resources preparing for a deposition of Alexander Lazarenko on March 18,
2019 in Kiev, Ukraine.1 Should Alexander Lazarenko change his position with respect to
withdrawing his claim prior to executing and filing the appropriate documents, counsel would
not object to the rescheduling of his deposition outside the window of time currently authorized
for fact discovery in this case.
         Kateryna and Lessia Lazarenko maintain their claims in this matter, and are prepared to
sit for deposition in Washington, D.C. on March 12 and March 13 as noticed by the United
States.

                                                              Sincerely yours,



                                                              Emily R. Beckman



1
  At any rate, given my conversations with Alex Lazarenko, even if there were a deposition in Ukraine, he does not
live anywhere near Kiev and we would object to his deposition being taken there.
